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 5
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 6
 7                            IN THE UNITED STATES DISTRICT COURT
 8                                          FOR THE
                                   NORTHERN MARIANA ISLANDS
 9
     RANDALL T. FENNELL,                           ) CASE NO. CV 09-00019
10                                                 )
                            Plaintiff,             )
11                 vs.                             )
                                                   )              SECOND
12   MATTHEW T. GREGORY, former Attorney )               STIPULATION REGARDING
     General, GREGORY BAKA, Acting Attorney )           DEADLINE FOR FILING FIRST
13   General, ANTHONY WELCH, Assistant Attorney )          AMENDED COMPLAINT
     General, TOM J. SCHWEIGER, Assistant Attorney )
14   General and DOES 1-20, in their official and )
     individual capacities,                        )
15
                            Defendants.            )
16                                                 )
                                                   )
17
18          On April 13, 2011, upon remand of this case from the United States Court of Appeals for the
19   Ninth Circuit, the Court granted Plaintiff leave to file a first amended complaint, if at all, on or
20   before April 28, 2011. Pursuant to a stipulation by the parties and by an order dated April 29, 2011,
21   the deadline was extended through May 31, 2011.
22          In a continuing effort to evaluate their respective cases, the plaintiff and defendants are
23   seeking an additional thirty (30) days for plaintiff to file a first amended complaint, if at all.
24   Accordingly, the parties HEREBY STIPULATE to request that the Court grant plaintiff additional
25   time through June 30, 2011 to file his first amended complaint, if at all.
26
27
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 2
 3   SO STIPULATED.
 4
 5   DATED:      May 27, 2011            /s/ Mark B. Hanson
                                         __________________________________
 6                                       MARK B. HANSON
                                         Attorney for Plaintiff
 7
 8
 9   DATED:      May 27, 2011            /s/ Braddock J. Huesman
                                         __________________________________
10                                       BRADDOCK J. HUESMAN
                                         Attorney for Defendants
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